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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

STEPHEN WILLIAM RINES, Case No. 5:19-cv-00426-PA (MAA)
Plaintiff,
ORDER REGARDING
Vv. PLAINTIFF’S MOTION FOR
APPOINTMENT OF COUNSEL
RIVERSIDE COUNTY JAIL
SHERIFFS, et al, (ECF NO. 10)
Defendants.

 

 

I. INTRODUCTION

Before the Court is Plaintiff Stephen William Rines’ (“Plaintiff”) “Motion
for Temporary Injunction Relief and Appointment of Counsel.” (“Motion,” ECF
No. 10.) On June 13, 2019, District Judge Percy Anderson denied Plaintiffs
Motion for Temporary Injunction Relief and referred the Motion for Appointment
of Counsel to Magistrate Judge Maria A. Audero. (Order, ECF No. 11.) For the
reasons stated below, the Motion for Appointment of Counsel is DENIED without
prejudice.
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Il. LEGAL STANDARD

“Generally, a person has no right to counsel in civil actions.” Palmer vy.
Valdez, 560 F.3d 965, 970 (9th Cir. 2009). This rule applies even for indigent
litigants. “The Supreme Court has declared that ‘the expenditure of public funds
[on behalf of an indigent litigant] is proper only when authorized by
Congress ....”” Tedder v. Odel, 890 F.2d 210, 211 (9th Cir. 1989) (alterations in
original) (quoting United States v. MacCollom, 426 U.S. 317, 321 (1976)). Indeed,
courts are not authorized to appoint counsel to involuntary service given that “Injo
statute provides funds to pay counsel secured under” the indigent litigant statute.
United States v. 30.64 Acres of Land, 795 F.2d 796, 801 (9th Cir. 1986) (construing
28 U.S.C. § 1915(d)).

Nevertheless, a court may request counsel for indigent civil litigants under
“exceptional circumstances.” 30.64 Acres of Land, 795 F.2d at 800; see 28 U.S.C.
§ 1915(e)(1) (“The court may request an attorney to represent any person unable to
afford counsel.”). The decision to appoint counsel in exceptional circumstances is
within “the sound discretion of the trial court.” Agyeman v. Corr. Corp. of Am.,
390 F.3d 1101, 1103 (9th Cir. 2004) (quoting Franklin v. Murphy, 745 F.2d 1221,
1236 (9th Cir. 1984)). Plaintiff bears the burden of establishing the existence of
exceptional circumstances. See Palmer, 560 F.3d at 970.

To determine whether exceptional circumstances merit such relief, a court
must consider “[(1)] the likelihood of success on the merits as well as [(2)] the
ability of the petitioner to articulate his claims pro se in light of the complexity of
the legal issues involved.” Id. (quoting Weygandt v. Look, 718 F.2d 952, 954 (9th
Cir. 1983)). These considerations must be viewed cumulatively, and neither is
dispositive. See Cano v. Taylor, 739 F.3d 1214, 1218 (9th Cir. 2014).

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Iii. DISCUSSION

Plaintiff asserts two grounds for appointment of counsel: (1) to help Plaintiff
obtain paperwork, medical files, defendants’ names, dates, times, policies violated,
reports, witness information and statements, and video and audio recordings; and
(2) Plaintiffs incarceration. (Mot. 2-3.)

Plaintiff has not met his burden of establishing exceptional circumstances
warranting the appointment of counsel. Although it is possible that Plaintiff's
claims have merit, at this stage in the proceeding Plaintiff has not demonstrated that
he is likely to succeed on the merits. See Bailey v. Lawford, 835 F. Supp. 550, 552
(S.D. Cal. 1993) (denying motion to appoint counsel because plaintiff offered “no
evidence other than his own assertions to support his claims”). In addition, Plaintiff
has demonstrated an adequate ability to articulate his claims pro se in light of the
complexity of the legal issues.

The reasons proffered by Plaintiff in support of his request for counsel do not
demonstrate exceptional circumstances. With respect to Plaintiff's argument that
he needs help investigating and developing his case, the Ninth Circuit has observed
that “[ml]ost actions require development of further facts during litigation and a pro
se litigant will seldom be in a position to investigate easily the facts necessary to
support the case.” Wilborn v. Escalderon, 789 F.2d 1328, 1331 (9th Cir. 1986). As
such, the need for discovery does not necessarily qualify the issues involved as
complex thereby warranting the appointment of counsel. See id. Finally,
incarceration is a difficulty any imprisoned litigant would have; it does not make a
case exceptional. See, e.g., Garcia v. Health, No. 2:13-cv-1952 JAM AC P, 2015
U.S. Dist. LEXIS 104749, at *4, 2015 WL 4730240, at *2 (E.D. Cal. Aug. 10,
2015).

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IV. CONCLUSION
For the foregoing reasons, Plaintiff's Motion for Appointment of Counsel is
DENIED without prejudice.

IT IS SO ORDERED.

DATED: JuneZ0 , 2019

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MARIA A. AUDERO
UNITED STATES MAGISTRATE JUDGE

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